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      In The United States Court of Federal Claims
                                          No. 08-700C

                                (Filed: September 28, 2012)
                                        __________

 JAY ANTHONY DOBYNS,

                             Plaintiff,

                       v.

 THE UNITED STATES,

                             Defendant.
                                           _________

                                            ORDER
                                           _________

       Oral argument on cross motions for summary judgment scheduled for October 3, 2012, is
hereby CANCELLED. The court will decide these motions on the briefs.

       IT IS SO ORDERED.



                                                        s/Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge
